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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE:                                             25-md-3143 (SHS) (OTW)
 OPENAI, INC.,                                      PLEADINGTITLE
 COPYRIGHT INFRINGEMENT
 LITIGATION



 This Document Relates To:

 No. 1:23-cv-11195 (SHS) (OTW)


                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Demetri Brumis Blaisdell, Litigation Counsel at The New

York Times Company, who is admitted to practice in this Court, respectfully enters his appearance

as counsel for Plaintiff The New York Times Company in the above-captioned case.



Dated: May 19, 2025                         /s/ Demetri Brumis Blaisdell
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